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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

KOMAA MNYOFU,                                    )
                                                 )
       Plaintiff,                                )
                                                 )          Case No. 15-cv-08884
       v.                                        )
                                                 )          Hon. Thomas J. Durkin
BOARD OF EDUCATION OF RICH                       )
TOWNSHIP HIGH SCHOOL DISTRICT                    )
227, ANTOINE BASS,                               )
                                                 )
       Defendants.                               )

         PLAINTIFF’S MOTION TO ENFORCE SETTLEMENT AGREEMENT

       On December 22, 2015, the parties engaged in a settlement conference before Judge

Schenkier. While the parties did not reach a monetary settlement in that settlement conference,

they agreed to language for a revised public comment policy in lieu of injunctive relief. The

parties then engaged in motion practice on Defendants’ motion to dismiss and Plaintiff's motion

for preliminary injunction, both of which were resolved in Plaintiff's favor. The parties were

again referred to Judge Schenkier for settlement, where both parties believed they reached an

agreement. Plaintiff's understanding of the agreement was that it included the previously

discussed policy change and an agreement not to change that policy back to the prior policy,

along with a monetary payment.

       As the parties worked to document settlement, Plaintiff inquired about the policy-change

term, which was not found in the agreement document furnished by Defendants, as well as the

improper inclusion of a general release. In response, Defendants agreed that the agreement did

not include a general release, but stated that the agreed-to settlement had not included any policy

change. The parties then appeared for a status before Judge Schenkier, who recommended that
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the parties agree to a policy change but without an ongoing agreement to keep it in force. At the

next status, Defendants reported that they would not agree to any policy change and the

settlement referral was terminated. This Court then set the parties for trial.

       After further consideration, and in an effort to minimize the burden on the Court and

Defendants’ taxpayers, Plaintiff has agreed to accept Defendants’ understanding of the

agreement. Plaintiff informed Defendants of this, but in response, Defendants have now refused

to proceed with the settlement terms that Defendants had previously accepted.

       This Court has the power to enforce a settlement agreement. See generally Lynch, Inc. v.

SamataMason Inc., 279 F.3d 487, 489 (7th Cir. 2002); Dillard v. Starcon Int'l, Inc., 483 F.3d

502, 507 (7th Cir. 2007). The common law principle of “mend the hold” limits the right of a

party to a contract dispute to change its litigating position. Harbor Ins. Co. v. Cont'l Bank Corp.,

922 F.2d 357, 362 (7th Cir. 1990). Here, Defendants initially took the position that the parties

had reached an agreement on particular terms, but after Plaintiff dropped his disagreement in an

effort to put this case to bed, Defendants have changed their position and now claim, apparently,

that there never was any agreement and that Defendants can walk away from exactly the

agreement they claimed to have reached. Simply put, Plaintiff has bent over backwards to get

this case resolved, and in response, Defendants have backed out of their own interpretation of the

settlement.

                                                      RESPECTFULLY SUBMITTED,

                                                      Matthew V. Topic

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                                                      Attorneys for Plaintiff
                                                      KOMAA MNYOFU




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                                CERTIFICATE OF SERVICE

       I, Matthew Topic, an attorney, certify that on September 23, 2016, I filed the foregoing

Plaintiff’s Motion to Enforce Settlement Agreement via the Court’s electronic filing system,

which effected service on all counsel of record.

                                                          /s/ Matthew V. Topic




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